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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


BRANDON BROOKS,                             )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )      CIVIL ACTION NO.
                                            )      2:19-cv-924-MHT-WC
OFFICER JUSTIN MCCLAIN, et al.              )
                                            )
      Defendants.                           )

                                    ANSWER

      COME NOW Defendants, Sergeant Murphy Davis and Officer Justin

McClain, by and through undersigned counsel, and file their answer to the

Plaintiff’s Complaint. In doing so, Defendants do not waive any defenses to the

Plaintiff’s claims, nor do Defendants waive any recourse to seek relief through

appellate proceedings. Additionally, Defendants reserve the right to amend their

answer as additional evidence may be discovered during litigation.

      The paragraphs below correspond to the paragraphs of the Complaint.

Unless specifically admitted herein, all allegations set forth by the Plaintiff are

denied.

                               NATURE OF SUIT

      1.    Defendants     acknowledge    that   the   Complaint     contains   the

allegations, but otherwise the allegations of paragraph 1 are denied and

Defendants demand strict proof thereof.
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                  PARTIES, JURISDICTION, AND VENUE


      2.    Acknowledged that Plaintiff Brandon Brooks is a citizen and

resident of the State of Alabama upon information and belief.

      3.    Admitted only with respect that Defendant Justin McClain is

employed by the Alabama Department of Corrections (“ADOC”) as a corrections

officer. As to the remaining allegations in paragraph 3, Defendants deny the

same and demand strict proof thereof.

      4.    Admitted only with respect that Defendant Burrell Freeman is

employed by ADOC as a corrections officer. As to the remaining allegations in

paragraph 4, Defendants deny the same and demand strict proof thereof

      5.    Admitted only with respect that Defendant Murphy Davis is

employed by ADOC as a correction officer. As to the remaining allegations in

paragraph 5, Defendants deny the same and demand strict proof thereof

      6.    Acknowledged.

      7.    Acknowledged.

      8.    Acknowledged that the Plaintiff is contending that jurisdiction is

appropriate based on law asserted in the Complaint.

      9.    Acknowledged that the Plaintiff is contending that venue is

appropriate based on law asserted in the Complaint.

      10.    Denied.

      11.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 11 and demand strict proof thereof.

      12.   Defendants do not have sufficient information to admit or deny the



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      13.   Plaintiff’s allegations in paragraph 12 and demand strict proof

thereof. Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 13 and demand strict proof thereof.

                          FACTUAL ALLEGATIONS

      A.    Denied as to the allegations as set forth in paragraph A and strict

proof thereof is demanded.

      14.   Admitted.

      15.   Admitted.

      16.   Denied as to the allegations as set forth in paragraph 16 and strict

proof thereof is demanded.

      17.   Denied as to the allegations as set forth in paragraph 17 and strict

proof thereof is demanded.

      18.   Denied as to the allegations as set forth in paragraph 18 and strict

proof thereof is demanded.

      19.   Denied as to the allegations as set forth in paragraph 19 and strict

proof thereof is demanded.

      20.   Denied as to the allegations as set forth in paragraph 20 and strict

proof thereof is demanded.

      21.   Denied as to the allegations as set forth in paragraph 21 and strict

proof thereof is demanded.

      22.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 22 and demand strict proof thereof.

      23.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 23 and demand strict proof thereof.

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      24.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 24 and demand strict proof thereof.

      25.   Defendant does not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 25 and demand strict proof thereof.

      B.    Denied as to the allegations as set forth in paragraph B and strict

proof thereof is demanded.

      26.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 26 and demand strict proof thereof.

      27.   Denied as to the allegations as set forth in paragraph 27 and strict

proof thereof is demanded.

      28.   Denied as to the allegations as set forth in paragraph 28 and strict

proof thereof is demanded.

      29.   Denied as to the allegations as set forth in paragraph 29 and strict

proof thereof is demanded.

      30.   Denied as to the allegations as set forth in paragraph 30 and strict

proof thereof is demanded.

      31.   Denied as to the allegations as set forth in paragraph 31 and

subparts a., b. and c. and strict proof thereof is demanded.

      32.   Denied as to the allegations as set forth in paragraph 32 and strict

proof thereof is demanded.

      33.   Denied as to the allegations as set forth in paragraph 33 and strict

proof thereof is demanded.

      34.   Denied as to the allegations as set forth in paragraph 34 and strict

proof thereof is demanded.


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      35.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 35 and demand strict proof thereof.

      36.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 36 and demand strict proof thereof.

      37.   Denied as to the allegations as set forth in paragraph 37 and strict

proof thereof is demanded.

      38.   Denied as to the allegations as set forth in paragraph 38 and strict

proof thereof is demanded.

      39.   Denied as to the allegations as set forth in paragraph 39 and strict

proof thereof is demanded.

      40.   Denied as to the allegations as set forth in paragraph 40 and strict

proof thereof is demanded.

      C.    Denied as to the allegations as set forth in paragraph C and strict

proof thereof is demanded.

      41.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 41 and demand strict proof thereof.

      42.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 42 and demand strict proof thereof.

      43.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 43 and demand strict proof thereof.

      44.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 44 and demand strict proof thereof.

      45.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 45 and demand strict proof thereof.


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      46.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 46 and demand strict proof thereof.

      47.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 47 and demand strict proof thereof.

      48.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 48 and demand strict proof thereof.

      49.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 49 and demand strict proof thereof.

      50.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 50 and demand strict proof thereof.

      51.   Defendants do not have sufficient information to admit or deny the

Plaintiff’s allegations in paragraph 51 and demand strict proof thereof

                                 COUNT I
  42 U.S.C. § 1983 Excessive Force in Violation of the Eighth Amendment
          Direct Liability against CO McClain and CO Freeman

      52.   Denied as to the allegations as set forth in paragraph 52 and strict

proof thereof is demanded.

      53.     Denied as to the allegations as set forth in paragraph 53 and strict

proof thereof is demanded.

      54.   Denied as to the allegations as set forth in paragraph 54 and strict

proof thereof is demanded.

      55.   Denied as to the allegations as set forth in paragraph 55 and strict

proof thereof is demanded.

      56.   Denied as to the allegations as set forth in paragraph 56 and strict

proof thereof is demanded.

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      57.   Denied as to the allegations as set forth in paragraph 57 and strict

proof thereof is demanded.

      58.   Denied as to the allegations as set forth in paragraph 58 and strict

proof thereof is demanded.

      59.   Denied as to the allegations as set forth in paragraph 59 and strict

proof thereof is demanded.

      60.   Denied as to the allegations as set forth in paragraph 60 and strict

proof thereof is demanded.

      61.   Denied as to the allegations as set forth in paragraph 61 and strict

proof thereof is demanded.

      62.   Denied as to the allegations as set forth in paragraph 62 and strict

proof thereof is demanded.

      63.   Denied as to the allegations as set forth in paragraph 63 and strict

proof thereof is demanded.

      64.   Denied as to the allegations as set forth in paragraph 64 and strict

proof thereof is demanded.

      65.   Acknowledged that Plaintiff is demanding a trial by jury.

                                COUNT II
  42 U.S.C. § 1983 Excessive Force in Violation of the Eighth Amendment
                Supervisory Liability against SGT Murphy


      66.   Defendants   acknowledge          that   the   Complaint   contains   the

allegations, but otherwise the allegations of paragraph 66 are denied and

Defendants demand strict proof thereof.




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      67.   Denied as to the allegations as set forth in paragraph 67 and strict

proof thereof is demanded.

      68.   Denied as to the allegations as set forth in paragraph 68 and strict

proof thereof is demanded.

      69.   Denied as to the allegations as set forth in paragraph 69 and strict

proof thereof is demanded.

      70.   Denied as to the allegations as set forth in paragraph 70 and strict

proof thereof is demanded.

      71.   Denied as to the allegations as set forth in paragraph 71 and strict

proof thereof is demanded.

      72.   Denied as to the allegations as set forth in paragraph 72 and strict

proof thereof is demanded.

      73.   Denied as to the allegations as set forth in paragraph 73 and strict

proof thereof is demanded.

      74.   Acknowledged that Plaintiff is demanding a trial by jury.

                                  Count III
              Deliberate Indifference to Serious Medical Needs
                   Against CO McClain and CO Freeman

      75.   Defendants    acknowledge         that   the   Complaint   contains   the

allegations, but otherwise the allegations of paragraph 75 are denied and

Defendants demand strict proof thereof.

      76.   Denied as to the allegations as set forth in paragraph 76 and strict

proof thereof is demanded.

      77.   Denied as to the allegations as set forth in paragraph 77 and strict

proof thereof is demanded.


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      78.      Denied as to the allegations as set forth in paragraph 78 and strict

proof thereof is demanded.

      79.      Denied as to the allegations as set forth in paragraph 79 and strict

proof thereof is demanded.

      80.      Denied as to the allegations as set forth in paragraph 80 and strict

proof thereof is demanded.

      81.      Denied as to the allegations as set forth in paragraph 81 and strict

proof thereof is demanded.

      82.      Denied as to the allegations as set forth in paragraph 82 and strict

proof thereof is demanded.

      83.      Acknowledged that Plaintiff is demanding a trial by jury.


                               PRAYER FOR RELIEF

      Defendant denies that Plaintiff is entitled to any relief and demand strict

proof thereof.

                            AFFIRMATIVE DEFENSES

      1.       The Complaint fails to state a claim upon which relief can be

granted.

      2.       The Court lacks jurisdiction over the persons involved in this

action.

      3.       The Court lacks jurisdiction over the subject matter of this action.

      4.       The Complaint fails to plead the substance of a bona fide justiciable

controversy; moreover, no controversy of a justiciable character exists between

the parties.

      5.       Defendants assert judicial immunity.

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      6.     Defendants assert qualified immunity.

      7.     Defendants assert sovereign immunity.

      8.     Defendants assert state-agent immunity.

      9.     Defendants assert functional discretionary immunity.

      10.    Defendants assert estoppel.

      11.    Defendants assert laches.

      12.    Defendants assert release.

      13.    Defendants assert waiver.

      14.    Defendants generally deny that the Plaintiff is entitled to receive

any portion of the relief requested in the Complaint filed in the above-styled

action.

      15.    Plaintiff is generally not entitled to a declaratory judgment or any

other relief requested.

      16.    To the extent that any of the foregoing allegations in the Plaintiff’s

Complaint have not been admitted or denied, they are hereby denied.

      17.    The Defendants reserve the right to assert additional defenses as

this action progresses.

      The Defendants further reserve the right to amend their Answer.


                                               Respectfully submitted,

                                               Steve Marshall
                                               Attorney General
                                               By:

                                               /s/ Madeline H. Lewis
                                               Madeline H. Lewis (HIN032)
                                               Assistant Attorney General
                                               Counsel for Defendants Davis and
                                               McClain

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ADDRESS OF COUNSEL:

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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 5, 2020, I electronically filed the foregoing

Answer with the Clerk of the Court, using the Court’s CM/ECF electronic filing

system which will notify all counsel for record.



                                             /s/Madeline H. Lewis
                                            OF COUNSEL




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